Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 1 of 14 Page ID #:19405



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12   ADOBE INC.
13                        UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15                                WESTERN DIVISION
16   REALTIME ADAPTIVE STREAMING,            Case No. 2:18-cv-09344-GW (JCx)
     LLC,
17                                           ADOBE’S OPPOSITION TO
                     Plaintiff,              REALTIME’S MOTION TO
18                                           STRIKE PORTIONS OF ADOBE’S
          v.                                 EXPERT REPORTS ON
19                                           INVALIDITY AND
     ADOBE INC.,                             NONINFRINGEMENT
20
                     Defendant.              DATE: January 23, 2020
21                                           TIME:  8:30 a.m.
                                             JUDGE: Hon. George H. Wu
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                                              ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                  PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                 NONINFRINGEMENT
                                                                      Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 2 of 14 Page ID #:19406



 1                                          TABLE OF CONTENTS
 2   I.    ARGUMENT................................................................................................. 1
 3         A.       Adobe Applied the Fallon Patent’s Definition of
                    Asymmetry .......................................................................................... 1
 4
           B.       Adobe’s Obviousness Contentions are Proper .................................... 3
 5
                    1.       The Fallon Patent Contentions are Detailed and
 6                           Specific ..................................................................................... 3
 7                  2.       The ’777 Patent Contentions are Detailed and
                             Specific ..................................................................................... 4
 8
           C.       Adobe Clearly Disclosed its Reliance on H.263 ................................. 7
 9
           D.       Adobe’s Expert Opinions on Third Party Products are
10                  Proper .................................................................................................. 9
11   II.   CONCLUSION ........................................................................................... 10
12

13

14

15

16

17

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28
                                                             i        ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                                          PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                                         NONINFRINGEMENT
                                                                                              Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 3 of 14 Page ID #:19407



 1                                          TABLE OF AUTHORITIES
 2                                                                                                                    Page(s)
 3   CASES
 4
     Abbott Labs. v. Syntron Bioresearch, Inc.,
 5     Case No. 98-CV-2359 ............................................................................................ 8
 6   Arctic Cat Inc. v. Bombardier Rec. Prods.,
 7      876 F.3d 1350 (Fed. Cir. 2017) ............................................................................ 10
 8   Karl Storz Endoscopy-Am., Inc. v. Stryker Corp.,
 9     No. 14-CV-00876-RS (JSC), 2018 U.S. Dist. LEXIS 129258
       (N.D. Cal. Aug. 1, 2018) ........................................................................................ 4
10
     Real Time Data, LLC v. Iancu,
11
       912 F.3d 1368 (Fed. Cir. 2019) .......................................................................... 3, 4
12
     Renishaw PLC v. Marposs Societa' Per Azioni,
13     158 F.3d 1243 (Fed. Cir. 1998) .............................................................................. 1
14
     Theranos, Inc. v. Fuisz Pharma LLC,
15      Case No. 5:11-cv-05236-PSG, 2014 U.S. Dist. LEXIS 30887 (Mar. 10, 2014) ... 9
16   STATUTES
17
     35 U.S.C. § 103 ........................................................................................................ 3, 4
18
19

20

21

22

23

24

25

26
27

28
                                                              ii        ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                                            PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                                           NONINFRINGEMENT
                                                                                                Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 4 of 14 Page ID #:19408



 1   I.      ARGUMENT
 2           A.    Adobe Applied the Fallon Patent’s Definition of Asymmetry
 3           When a patentee defines a term in a patent’s specification, “the definition
 4   selected by the patent applicant controls.” See Renishaw PLC v. Marposs Societa'
 5   Per Azioni, 158 F.3d 1243, 1249 (Fed. Cir. 1998). That is the situation here: the
 6   Fallon patents expressly state “[a]n asymmetrical data compression algorithm is
 7   referred to herein as one in which the execution time for the compression and
 8   decompression routines differ significantly.” [D149-4 at 10:12-15.] This is
 9   definitional language, and Adobe’s expert was correct to rely upon it.
10           Indeed, Realtime has repeatedly acknowledged the definitional nature of this
11   language in its prior pleadings:
12         “The ’535 and ’477 patents provide an express definition of ‘asymmetric’
13           compression. As the patents state: ‘An asymmetrical data compression
14           algorithm is referred to herein as one in which the execution time for the
15           compression and decompression routines differ significantly.’” [D.I. 86 at 34
16           (emphasis added).]
17         “The patents’ specifications define an asymmetric data compression
18           algorithm as a compression algorithm ‘in which the execution time for the
19           compression and decompression routines differ significantly.’ ’535 patent at
20           9:63-66. This is a precise definition, and a person of skill in the art would
21           understand with reasonable certainty what is meant by ‘asymmetric.’”
22           [D.I. 86 (Zeger Decl.), ¶ 25 (emphasis added).]
23   Realtime also acknowledged the definitional nature of this portion of the patent in
24   the co-pending inter partes review (“IPR”) proceedings. [See, e.g., Ex. A
25   (IPR2018-01342 POPR) at 3 (“The patent also recognized that using an
26   asymmetrical algorithm … where an ‘asymmetrical’ algorithm is defined to be a
27   compression algorithm ‘in which the execution time for the compression and
28
                                              1      ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                         PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                        NONINFRINGEMENT
                                                                             Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 5 of 14 Page ID #:19409



 1   decompression routines differ significantly.’”); Ex. B (IPR2018-01169 POPR) at 3
 2   (“An asymmetric algorithm is one in which the execution time for the compression
 3   and decompression routines differ significantly.”).]
 4         Indeed, Realtime’s own technical expert, Dr. V. Thomas Rhyne,
 5   acknowledged in his deposition that the Fallon patents use definitional language
 6   with respect to this claim limitation:
 7             Q. So I guess – I’ll start reading about 15 line 9. ‘In the following
 8
               description of preferred embodiments, two categories of
               compression algorithms are defined – an ‘asymmetrical’ data
 9             compression algorithm and a ‘symmetrical’” – “and a
10
               ‘symmetrical’ data compression algorithms.” Do you see that?
               A. I do.
11             Q. And it says then, “An asymmetrical data compression algorithm
12             is referred to herein as one in which the execution time for the
               compression and decompression routines differ significantly.”
13             Right?
14             A. Yes.
               Q. That’s pretty definitional language, would you agree?
15             A. It is. …
16   [D.I. 148-8 at 43:14-44:5.]
17         Realtime’s only basis for its motion is a mistaken belief that the Court’s claim
18   construction ruling expressly rejected this definitional language from the
19   specification. That is not correct. The primary dispute between the parties at claim
20   construction was whether the term “asymmetric” was indefinite. The Court
21   concluded based on the then-existing record that it was not, and found “no
22   construction is necessary for these terms on the current record.” [D.I. 92 at 19.]
23   While the Court declined to adopt any specific construction, it did not reject the
24   definition in the specification, and indeed the Court noted that definition was
25   “supported by the intrinsic record.” [Id.] The Court indicated that the focus of the
26   parties should be on “the understanding of the claim term to a person of skill in the
27   art at the time of the invention,” but as Adobe’s expert explained in his deposition,
28
                                              2     ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                        PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                       NONINFRINGEMENT
                                                                            Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 6 of 14 Page ID #:19410



 1   one of ordinary skill would recognize that the Fallon patents provide an express
 2   definition for the term, and would apply that definition. [See D.I. 132-4 at 41:8-19.]
 3         Because Dr. Bhattacharjee correctly applied the patent’s definition of
 4   “asymmetry,” the Court should not strike his opinions.
 5         B.     Adobe’s Obviousness Contentions are Proper
 6                1.    The Fallon Patent Contentions are Detailed and Specific
 7         Realtime’s motion with respect to Adobe’s obviousness contentions for the
 8   Fallon patents relies on a straw-man argument. Specifically, Realtime focuses on
 9   just one paragraph from Adobe’s expert report, to the exclusion of all others.
10   Realtime ignores what comes before that paragraph—multiple paragraphs of
11   detailed, limitation-by-limitation analysis of how and where each limitation is found
12   in the prior art. [See D.I. 151-1 at Sections XIII[D] & [F], XIV[C] & [E].] That
13   analysis bears not only on anticipation but also on obviousness, and it provides the
14   detail that Realtime argues is missing from Adobe’s expert report.
15         As an initial matter, Realtime appears to take the incorrect position that an
16   obviousness analysis assumes something is “missing” from a prior art. [Mot. at 5
17   (arguing Adobe’s analysis fails to discuss “the differences between the claims and
18   references,” and that it does not “identify what limitations are missing or what
19   modifications are needed”).] This is incorrect, and indeed Realtime recently lost
20   this very argument at the Federal Circuit. Specifically, after having one of its
21   patents invalidated in an IPR proceeding, Realtime argued that the U.S. Patent &
22   Trademark Office (“PTO”) committed legal error by invalidating its patent based
23   upon a single reference under 35 U.S.C. § 103. See Real Time Data, LLC v. Iancu,
24   912 F.3d 1368, 1373 (Fed. Cir. 2019). Realtime argued that the PTO should have
25   instead based its rejection on anticipation under Section 102, since only a single
26   reference was at issue. Id. Realtime further argued that the PTO’s analysis was
27   deficient because it did not consider the various requirements of obviousness. Id. at
28
                                             3      ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                        PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                       NONINFRINGEMENT
                                                                            Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 7 of 14 Page ID #:19411



 1   1372-73. The Federal Circuit rejected these arguments, noting that “a disclosure
 2   that anticipates under § 102 also renders the claim invalid under § 103, for
 3   anticipation is the epitome of obviousness.” Id. (internal citations omitted). The
 4   Federal Circuit also said that since the petition identified the prior art as “disclosing
 5   every element of claim 1,” that was sufficient for obviousness purposes. Id. at 1373.
 6         Here, Adobe’s expert demonstrated how each limitation of the prior art was
 7   present in each prior art reference. [See D.I. 151-1 at Sections XIII[D] & [F],
 8   XIV[C] & [E].] Thus Realtime’s statement that Adobe’s expert does not analyze the
 9   “differences” between the claims and the prior art references [Mot. at 5] is
10   incorrect—Adobe’s expert opines that there are no such differences. Adobe’s expert
11   is also clear at the start of each section that he is relying on both anticipation and
12   obviousness. [See, e.g., D.I. 151-1, ¶¶ 161, 267, 353 & 451.] As in Iancu, this was
13   sufficient to disclose Adobe’s theories. There was nothing more to disclose, and
14   there was nothing improper about Adobe’s expert analysis.
15         Realtime’s reliance on Karl Storz Endoscopy-Am., Inc. v. Stryker Corp., No.
16   14-CV-00876-RS (JSC), 2018 U.S. Dist. LEXIS 129258, at *28-30 (N.D. Cal.
17   Aug. 1, 2018), is misplaced because that case did not strike any expert theories; the
18   district court only struck certain language found in a claim chart appended to the
19   expert’s report. Id. The accused infringer noted that the substance of its expert’s
20   obviousness analysis was found elsewhere, and the district court did not strike those
21   opinions. See id. at *30. Here, by contrast, Realtime is attempting to strike the
22   substance of Adobe’s obviousness opinions, while effectively ignoring all the actual
23   analysis. Realtime has no support for such a sweeping exclusion remedy.
24                2.     The ’777 Patent Contentions are Detailed and Specific
25         Realtime’s motion to strike Dr. Delp’s obviousness analysis is an extended
26   non sequitur. Realtime omits the entirety of Dr. Delp’s analysis from its brief and
27   then argues that his opinions are “boilerplate.” [Mot. 6.] On the contrary, Dr. Delp
28
                                              4      ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                         PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                        NONINFRINGEMENT
                                                                             Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 8 of 14 Page ID #:19412



 1   explained exactly what disclosures can be combined to disclose each limitation, how
 2   they would be combined, and why they would be combined. Realtime not only
 3   ignores all this, but it even excises key sentences from the paragraphs it does purport
 4   to quote (without indicating that it has done so).
 5           Dr. Delp did three things in his report, all of which Realtime omits. First, in
 6   Section X, he analyzed the technical contribution of each reference—there are only
 7   six, three of which are primary—and showed in individualized detail how some (not
 8   all) of them arise in the same technological context, are based on the same technical
 9   standards (e.g., H.264), use the same metrics, address the same problems, and use
10   the same techniques. [Ex. C, ¶¶ 77–82 (Carlsson); ¶¶ 87–92 (Keesman); ¶¶ 96–100
11   (Henry); ¶¶ 104–108 (Winger); ¶¶ 112–118 (Sullivan); ¶¶ 123–127 (Wen).]
12           Second, in Section XI, Dr. Delp examined the core technologies of each claim
13   limitation, explaining which references disclosed it, how they did so, and that their
14   implementations were similar, and concluding that each would thus be “relevant to
15   [the] limitation” and “would provide a reason to combine.” [Id., ¶¶ 128–200.]
16             Third, in Section XII, Dr. Delp walked through the claims for each primary
17   reference, identifying and further explaining each obviousness combination. For
18   instance, taking the element (hybrid coding) and reference (Carlsson) that
19   Realtime’s brief purports to quote (Mot. 6:22–7:3, citing Ex. C, ¶¶ 212–213)),
20   Dr. Delp said that it “would be (i) obvious in light of Carlsson itself; and (ii)
21   obvious in light of any of the other references that describe hybrid coding—
22   Keesman, Winger, Sullivan & Wiegand, and Wen—as discussed in Section XI.A
23   above.” [Id., ¶ 209.] This is four specific combinations, not “dozens” as Realtime
24   contends. [Mot. at 8.]1
25

26   1
         Realtime’s assertion [Mot. 7:6–7] that a later statement with the words “and/or”
          implicates “any possible permutation” of these references is incorrect. As
27        Dr. Delp says in Paragraph 209 (quoted above), Adobe’s position is that any one
          of these references could individually be combined with Carlsson to disclose this
28        limitation. The sentence Realtime quotes does not identify combinations but
                                              5      ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                         PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                        NONINFRINGEMENT
                                                                             Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 9 of 14 Page ID #:19413



 1         Dr. Delp next discussed these combinations. [Id., ¶¶ 210–213.] Some had
 2   their own sections (e.g., Keesman + Winger), while others were combined into one
 3   section for each limitation. In either case, Dr. Delp explained what disclosures
 4   would be combined, how, and why. In the example above, Dr. Delp first explained
 5   that each of the references to be combined with Carlsson addresses the same
 6   problem as Carlsson in the context of the limitation—“how to manage the tradeoff
 7   between distortion and bitrate in video coding”—and uses the same solution—i.e.,
 8   hybrid coding from the same “video encoding standards, such as H.264.” [Id.,
 9   ¶¶ 212–213.] Next, he incorporated by reference the parts of Sections X and XI that
10   explain why these references’ hybrid coding techniques are at least known technical
11   substitutes for those of Carlsson and the ’777 patent. [Id.] Thus, Dr. Delp
12   concluded these were an “implementation choice that a skilled artisan would know
13   could be carried over from any of these references.” [Id., ¶ 213.] These points are
14   not boilerplate but individualized; different analyses are given for other limitations.
15         Realtime ignores most of this and misleadingly omits the rest. For example,
16   its purported block-quote (Mot. 6:22–7:2) is intensely misleading. It: (1) silently
17   deletes (without indicating that it has done so) the sentence that lays out the
18   references’ common technical approach (video encoding, H.264); (2) replaces Dr.
19   Delp’s discussion of the references’ common technical problem (managing the
20   tradeoff) with the generic phrase “[technological concept]”; and (3) wholly ignores
21   the detailed analysis in Sections X and XI.A that is incorporated by reference.
22         Separately, Realtime’s motion contains zero argument—or even
23   acknowledgement—of a whole category of obviousness opinions: namely, single-
24   reference obviousness. Realtime does not and cannot argue that this is boilerplate.
25   For each reference, Dr. Delp has explained in element-by-element fashion and in
26   individualized detail why the element would have been obvious over the reference
27

28      rather explains that a skilled artisan “would have known how to” substitute
                                             6      ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                        PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                       NONINFRINGEMENT
                                                                            Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 10 of 14 Page ID #:19414



  1   alone. In the example discussed above, Dr. Delp has a whole separate section with a
  2   detailed explanation of why the reference would be “Obvious[] In Light of Carlsson
  3   Alone,” (Ex. C, ¶ 210-11), which Realtime does not cite, discuss, or contest.
  4   Accordingly, Dr. Delp’s single-reference obviousness opinions are unchallenged.
  5         C.     Adobe Clearly Disclosed its Reliance on H.263
  6         Realtime’s argument that it had no notice of Adobe’s intent to rely upon
  7   H.263 in combination with other disclosed prior art references is simply false. The
  8   Court ordered Adobe to disclose narrowed sets of prior art that it intended to rely
  9   upon both in February and in September of 2019. [D.I. 59, 81.] In both of these
 10   disclosure, Adobe identified H.263, along with the other references at issue here.
 11   [See Exs. D, E (identifying H.263, among others, as elected prior art for the ’477
 12   and ’907 patents).] Further, in Adobe’s invalidity contentions for both Pauls and
 13   RealNetworks, Adobe expressly stated the claims were invalid both “alone or in
 14   combination with other references.” [See Exs. F-I.] Realtime thus had notice that
 15   Adobe intended to combine the prior art that it disclosed.
 16         Adobe’s contentions then disclosed the specific portions of the references that
 17   it intended to rely upon and combine. Specifically, Adobe served a claim chart for
 18   H.263 that expressly discussed its support for “Syntax-based Arithmetic Coding,”
 19   which is the part of the reference Adobe relies upon for obviousness. [See Exs. J at
 20   9, 20, 24 (discussing “Syntax-based Arithmetic Coding”), K at 6 (same).]
 21         Next, in Adobe’s disclosures for Pauls, Adobe referred to H.263 on at least 10
 22   occasions. [See Ex. F at 1, 3, 6, 10, 11, 13, 16, & 19; Ex. G (incorporating by
 23   reference portions of Exhibit F-3, including those referring to H.263, and also
 24   referring to H.263 at p.4.] While Realtime argues that Adobe’s claim chart for Pauls
 25   never disclosed H.263 “for any independent claim of the Fallon patents,” this is
 26   simply false. Adobe cited H.263 on the very first page of its claim chart for the ’477
 27

 28      features between them. [See Ex. C, ¶ 212.]
                                             7      ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                        PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                       NONINFRINGEMENT
                                                                            Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 11 of 14 Page ID #:19415



  1   patent, under independent claim 1, limitation 1[a]. [See Ex. F at 1.] Adobe also
  2   discussed H.263 in limitations 1[b] and 1[c]. [See id. at 3 & 6.] For independent
  3   claim 20, since the relevant claim language was identical to claim 1, Adobe referred
  4   back to the earlier claim limitation (1[a], 1[b], and 1[c]) which, as noted, cite H.263.
  5   [See id. at 27 (referring back to Claim [1a]) & 28 (referring back to Claims [1b] and
  6   [1c]).] Finally, for independent claim 1 of the ’907 patent, again because the
  7   relevant claim language was identical, Adobe referred Realtime to claim 1 of the
  8   ’477 patent, which again specifically referenced H.263. [See Ex. G at 1 (referencing
  9   limitations [1a] & [1b] of the ’477 patent) & 2 (referencing limitation [1c] of the
 10   ’477 patent).]
 11         Finally, in Adobe’s claim chart for RealNetworks, Adobe specifically
 12   discussed QuickTime. [See Ex. H at 2, I at 1 (referring to the ’477 patent claim
 13   1[a]).] This is relevant because the only use of H.263 in Adobe’s invalidity analysis
 14   for RealNetworks relates to QuickTime. Specifically, Adobe’s expert described
 15   how “the RealSystem G2 Production Guide refers to encoding for QuickTime,
 16   which was a video format released by Apple,” and “[a]t the time the asserted patents
 17   were filed in February of 2001, QuickTime supported the H.263 video encoding
 18   standard.” [D.I. 151-1, ¶ 214.] Had Realtime simply investigated QuickTime, it
 19   would have understood that QuickTime used H.263. Adobe should not be
 20   prohibited from discussing this simply because Realtime failed to investigate.
 21         To quote from Realtime’s own prior arguments against Adobe’s motion to
 22   strike, “[t]o the extent [Realtime] believed that [Adobe’s] contentions were at all
 23   ambiguous or insufficient, it was required to seek clarification.” [D.I. 119 at 10,
 24   citing Realtime Data v. Actian, 15-cv-463, Dkt. No. 510 at 5 (E.D. Tex. Apr. 17,
 25   2017).] Realtime never sought such clarification here. Because Adobe’s invalidity
 26   theories were adequately disclosed, the Court should not strike them. See Abbott
 27   Labs. v. Syntron Bioresearch, Inc., Case No. 98-CV-2359 H (POR), 2001 U.S. Dist.
 28
                                              8      ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                         PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                        NONINFRINGEMENT
                                                                             Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 12 of 14 Page ID #:19416



  1   LEXIS 26339 at *9-13 (S.D. Cal. Aug. 23, 2001) (refusing to exclude prior art
  2   references because patent holder was on notice that accused infringer would rely
  3   upon them); Theranos, Inc. v. Fuisz Pharma LLC, Case No. 5:11-cv-05236-PSG,
  4   2014 U.S. Dist. LEXIS 30887 at *8-9 (Mar. 10, 2014) (same).
  5         Finally, to the extent the Court concludes there was any lack of disclosure,
  6   there is no prejudice. Realtime’s only argument on prejudice is a single sentence
  7   that it “relied on Adobe’s invalidity theories…in making its final election of asserted
  8   claims.” [Mot. at 9.] Realtime does not explain how its choices would have been
  9   different had it known Adobe’s theories, and Realtime has not sought leave to alter
 10   the asserted claims after reviewing Adobe’s expert report. In opposing Adobe’s
 11   motion to strike, Realtime previously argued to this Court that “[e]xclusion of expert
 12   opinion is unwarranted where … any potential prejudice can be cured by, e.g.,
 13   allowing full opportunity to respond to the expert opinion or to depose the expert.”
 14   [D.I. 119 at 4, citing Automotive Data Sol’n, Inc. v. Directed Electronics Canada,
 15   Inc., No. CV 18-1560-GW(Ex), Dkt. No. 300 (“Automotive Data”) (C.D. Cal.
 16   Sept. 16, 2019).] Here, Realtime had such an opportunity to respond in its invalidity
 17   rebuttal report, and to depose Adobe’s expert. Moreover, in denying Adobe’s
 18   motion to strike, the Court held that even where Realtime did not disclose theories,
 19   since Realtime’s theory was “substantially the same for each encoding standard,” it
 20   should not be struck. [D.I. 126 at 2.] Here, Realtime acknowledges that Adobe
 21   disclosed H.263 in combination with the Voois reference, and Adobe’s use of H.263
 22   for Pauls and RealNetworks is identical to its theories with respect to Voois. [See
 23   D.I. 151-1, Sections XVI[B] & [C].] Because Adobe’s theories were properly
 24   disclosed, and because there is no prejudice, Realtime’s motion should be denied.
 25         D.     Adobe’s Expert Opinions on Third Party Products are Proper
 26         Realtime misstates the law in its arguments on marking. It is not Adobe’s
 27   burden to show that Realtime licensee’s products embody the asserted patents;
 28
                                              9     ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                        PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                       NONINFRINGEMENT
                                                                            Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 13 of 14 Page ID #:19417



  1   rather, under Arctic Cat Inc. v. Bombardier Rec. Prods., 876 F.3d 1350, 1368-69
  2   (Fed. Cir. 2017), Adobe need only identify potential embodying products, and the
  3   burden then shifts to Realtime to prove that those products do not embody. Adobe
  4   met that burden by having its technical experts review Realtime’s infringement
  5   contentions and opine as to whether products sold by licensees included the same
  6   features Realtime accused of infringing. Realtime’s 30(b)(6) witness on marking
  7   stated that Realtime’s infringement contentions were sufficient to show that a
  8   product practices the asserted claims. [See Ex. L (McErlain Dep.) at 207:1-6.]
  9   There was nothing improper about Adobe’s experts relying on Realtime’s own
 10   infringement contentions to show how licensed products include the same accused
 11   features in order to shift the burden to Realtime to show it complied with the statute.
 12         Realtime also argues that Adobe’s expert opinions should be excluded
 13   because they are “based on no technical analysis and are untethered to claim
 14   language, element-by-element analysis, or even the Court’s constructions.” [Mot. at
 15   10.] This is incorrect. Realtime argued to this Court that its contentions provide
 16   various “examples” of functionalities that practice its claims. [See, e.g., D.I. 119 at
 17   16-18.] Adobe’s experts applied their technical understanding to identify which
 18   examples were relevant, and to show how and where those functionalities are in
 19   each licensed product. Adobe’s experts did an “element-by-element” analysis (each
 20   limitation is covered), and necessarily apply the Court’s claim constructions because
 21   they relied upon Realtime’s own contentions, which applied those constructions.
 22   The only way Adobe’s analysis could be deficient is if Realtime acknowledges its
 23   infringement contentions are deficient. Since Realtime makes no such argument, its
 24   motion must be denied.
 25   II.   CONCLUSION
 26         For the foregoing reasons, the Court should deny Realtime’s motion.
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                                             10      ADOBE’S OPPOSITION TO REALTIME’S MOTION TO STRIKE
                                                         PORTIONS OF EXPERT REPORTS ON INVALIDITY AND
                                                                                        NONINFRINGEMENT
                                                                             Case No. 2:18-cv-09344-GW (JCx)
Case 2:18-cv-09344-GW-JC Document 165 Filed 12/17/19 Page 14 of 14 Page ID #:19418



  1   Dated: December 17, 2019          FISH & RICHARDSON P.C.
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  3
                                        By: /s/ Jonathan J. Lamberson
                                            Jonathan J. Lamberson
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  5                                     Attorneys for Defendant
                                        ADOBE INC.
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